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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :
                                                  :
                       v.                         :    CRIMINAL NUMBERS:
                                                  :
 ELMER STEWART RHODES III,                        :    22-cr-15-APM
 KELLY MEGGS,                                     :
 KENNETH HARRELSON,                               :
 JESSICA WATKINS,                                 :
 JOSHUA JAMES,                                    :
 ROBERTO MINUTA,                                  :
 JOSEPH HACKETT,                                  :
 DAVID MOERSCHEL,                                 :
 BRIAN ULRICH,                                    :
 THOMAS CALDWELL,                                 :
 EDWARD VALLEJO,                                  :
                                                  :
 DONOVAN CROWL,                                   :   21-cr-28-APM
 SANDRA PARKER,                                   :
 BENNIE PARKER,                                   :
 LAURA STEELE,                                    :
 CONNIE MEGGS,                                    :
 WILLIAM ISAACS,                                  :
 JAMES BEEKS, and                                 :
                                                  :
 JONATHAN WALDEN,                                 :   22-cr-14-APM
                                                  :
                     Defendants.                  :

           GOVERNMENT’S CERTIFICATION IN RESPONSE TO COURT’S
                       DECEMBER 23, 2021 ORDER

       In its December 23, 2021 order denying Defendant Kelly Meggs’s motion for a subpoena

to the U.S. Capitol Police, the Court directed the government to “certify . . . that it has requested

and sought all records from the U.S. Capitol Police that reflect any communications made to the

Presiding Officer of each House, and any other involved persons, that led to the decision to recess

the Certification of the Electoral College vote count on January 6, 2021.” ECF 565 at 2. The

government so certifies.
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       Specifically, the government has conferred with the U.S. Capitol Police’s general counsel

and his staff to identify and secure any responsive records.            The records may include

contemporaneous records such as radio communications, recorded phone calls, text messages, and

emails. The records may also include subsequently created records such as after-action reports.

The government has already provided many of these records in discovery and is in the process of

obtaining and producing the remainder of the records.

       Though not called for in Defendant Meggs’s motion or the Court’s order, the government

also notes that it intends to produce in discovery, in addition to records in the custody of the U.S.

Capitol Police, records created by the FBI that may reflect the communications or actions that led

to the decision to recess each chamber. These records include memoranda of interviews with

relevant personnel, including select employees of the U.S. Capitol Police, including plain-clothes

officers who were in the House and Senate chambers; the U.S. Secret Service; the House of

Representatives, including individuals who work for the Parliamentarian, Sergeant at Arms, and

Clerk; and the Senate, including individuals who work for the Secretary.

       Publicly available records, including the Congressional Record and the C-SPAN video

feeds of each chamber, also show the official actions in each chamber leading up to and including

the recesses.   The government has also obtained directly from the House and Senate, and

subsequently produced in discovery, each chamber’s official time-stamped video feed while that

chamber was in session.

       The government notes that it does not control or have access to records held by Senators

or Members of Congress, or their offices or staff. The same is true for congressional committees,

including notably the House of Representatives Select Committee to Investigate the January 6th

Attack on the U.S. Capitol.

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       Finally, the government notes that it does not control or have access to records maintained

or created by the U.S. Capitol Police Office of the Inspector General.

                                             Respectfully submitted,

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                                             UNITED STATES ATTORNEY
                                             D.C. Bar Number 481052

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